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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 17-1747V
                                          UNPUBLISHED


    LARRY NELSON,                                               Chief Special Master Corcoran

             Petitioner,                                        Filed: January 13, 2021
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Decision Awarding Damages; Pain
    HUMAN SERVICES,                                             and Suffering; Influenza (Flu)
                                                                Vaccine; Guillain-Barré Syndrome
             Respondent.                                        (GBS)


Randall G. Knutson, Knutson & Casey Law Firm, Mankato, MN, for Petitioner.

Naseem Kourosh, U.S. Department of Justice, Washington, DC, for Respondent.

                                 DECISION AWARDING DAMAGES1

       On November 7, 2017, Larry Nelson filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that he suffered Guillain Barré syndrome (“GBS”) as a
result of receiving the influenza (“flu”) vaccination on September 20, 2016. Petition at 1.
The case was assigned to the Special Processing Unit of the Office of Special Masters,
and although Respondent conceded entitlement, the parties could not informally resolve
damages.

      For the reasons set forth below, and after hearing argument from the parties, I find
that Petitioner is entitled to compensation in the amount $166,700.04, representing


1
   Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the
E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). This means the decision will be available to anyone with access to
the internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2012).
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$155,000.00 for actual pain and suffering, $4,339.00 for past unreimbursed medical
expenses, and $7,361.04 for future expenses.


    I.       Relevant Procedural History

       Approximately 11 months after this case was initiated, Respondent filed a Rule
4(c) Report on September 27, 2018, conceding that Petitioner was entitled to
compensation. ECF No. 26. A ruling on entitlement was issued on the same day. ECF
No. 27. The parties thereafter attempted to informally resolve damages but were
unsuccessful. ECF No. 62. A scheduling order was issued on August 14, 2020 (ECF No.
63), regarding the briefing of disputed damages issues, and the parties filed their
respective briefs (ECF Nos. 64-66 (“Br.”), 67 (“Opp.”), and 68 (“Resp.”)). I proposed that
the parties be given the opportunity to argue their positions at a motions hearing, at which
time I would decide the disputed damages issues. ECF. No. 69. That hearing was held
on December 11, 2020,3 and the case is now ripe for a determination.

    II.      Relevant Medical History

       A complete recitation of the facts can be found in the Petition, the medical records,
the parties’ pre-hearing briefs, and in Respondent’s Rule 4(c) Report. In brief summary,
Mr. Nelson was 63 years old when he received a flu vaccine on September 20, 2016, in
Willmar, Minnesota4. His prior medical condition included restless leg syndrome, chronic
L5 radiculopathy, lumbar spinal fusion, REM sleep behavior disorder, anxiety and
depression. Ex. 13 at 1-5, 21. Mr. Nelson continued to have chronic daily back pain, but
it was considered to be well controlled. Ex. 4 at 4.

        On October 21, 2016, Mr. Nelson presented to JoLene Schlegel, R.N. (“NP”), at
his primary care physician’s office complaining of numbness in both feet, left greater than
right, which “started on Monday.” Ex. 4 at 8. A neurological exam showed bilaterally
decreased upper and lower extremity sensation, normal cranial nerve function, and
normal DTRs. Id. at 10. NP Schlegel diagnosed bilateral arm and leg numbness and
tingling possibly related to his fall, and she recommended follow-up in a week if symptoms
did not resolve. Id. at 8. Routine lab testing at that visit showed a normal CBC and
chemistry panel. Id. at 25-26.


3
  At the end of the hearing held on December 11, 2020, I issued an oral ruling from the bench on damages
in this case. That ruling is set forth fully in the transcript from the hearing, which is yet to be filed with the
case’s docket. The transcript from the hearing is, however, fully incorporated into this Decision.
4
  Mr. Nelson also received a polysaccharide pneumococcal vaccine (brand name Pneumovax) on that date.
Ex. 4 at 1. The polysaccharide pneumococcal vaccine is not covered by the Vaccine Act.

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       Mr. Nelson returned to see Dr. Mulder on October 21 and 24 with progressing
sensory symptoms and weakness, and GBS was considered. Ex. 4 at 14-20. On October
31, 2016, Petitioner presented to the Fairview Northland Medical Center emergency
room, reporting the onset of progressive weakness and numbness two weeks earlier with
symptoms first affecting his left hand and spreading to his left foot, right hand, and right
foot. Ex. 5 at 2. The numbness was now spreading up his legs, and he was unable to
walk. Id. He also reported problems with breathing and swallowing. Id. Mr. Nelson was
transferred to the University of Minnesota-Fairview Medical Center with a diagnosis of
GBS. Id. at 4-5.

       Mr. Nelson received five days of IVIG and improved. Ex. 6 at 52. His hospital
course was remarkable for leukopenia (low white blood cells), which the hematologist
thought was due to the IVIG. Id. at 16-17. Mr. Nelson was transferred to an inpatient acute
rehabilitation facility on November 8, 2016. Ex. 6 at 52. At that time, he was ambulating
with a walker. Id. at 58. Petitioner was discharged home on November 10, 2016, to
continue with physical and occupational therapy on an outpatient basis. Id. at 52-57.

        By November 14, 2016, Mr. Nelson was walking independently with a walking
stick. Ex. 7 at 2. His neurologist, Lyla K. Veen, M.D., noted that his strength was almost
back to normal, although he continued to have some numbness in his extremities. Id. Dr.
Veen recommended that Petitioner continue with outpatient physical therapy and
occupational therapy. He continued this therapy until January 5, 2017 and was instructed
to continue on a home exercise program. Ex. 6 at 52-57.

         Mr. Nelson saw Dr. Veen again in follow-up on February 1 and March 29, 2017.
Ex. 7 at 5-17. Petitioner reported an apparent recurrence of symptoms at the February
visit, including increased paresthesias in his hands and feet and achy legs. Id. at 5. It
showed some mild abnormalities of uncertain clinical significance, and the results were
not considered to be the residual effects of GBS. Id. On March 29, 2017, Dr. Veen noted
that she was “confident that he has overcome” his GBS, but he may have some residual
parasthesias long term, and she prescribed gabapentin. Id. at 16.

         Dr. Veen also noted that based on recent MRIs of the cervical and lumbar spine,
Mr. Nelson had neck and back pain attributable to degenerative vertebral and disc
changes, and she referred him to physical therapy and a neurosurgeon. Ex. 7 at 16. On
May 2, 2017, Mr. Nelson saw Dr. Mardi Oswald of Metropolitan Neurosurgery for
evaluation of “years of neck pain,” which was mostly on the right side and sometimes
radiated down his right arm. Ex. 10 at 2. Mr. Nelson reported that gabapentin was helping
a little bit with his hand paresthesias from GBS. Id. On exam, he had normal extremity
strength and sensation but diffusely diminished DTRs. Id. He was diagnosed with a

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possible right C6 radiculopathy secondary to foraminal stenosis at C5-6. Id. Dr. Oswald
recommended an epidural steroid injection and physical therapy. Id.

       Mr. Nelson continued to seek treatment for neck pain over the ensuing months.
See generally Exs. 18 and 20. He underwent surgical intervention, and on December 27,
2017, Joel C. Shobe, M.D., of St. Cloud Orthopedic Associate performed an anterior
cervical discectomy and fusion, C5-C6, with allograft and plating, to treat right C5-C6 disk
herniation with foraminal stenosis. Ex. 20 at 7-8. In follow-up on March 28, 2018, Mr.
Nelson was “doing quite well, noting further improvement in his neck pain and arm pain
symptoms. He still feels some stiffness in his neck.” Id. at 14. Dr. Shobe noted that Mr.
Nelson had normal strength in all muscle groups of the lower extremities. Id. He instructed
Petitioner on performing home exercises and recommended follow-up in about three
months. Id.

        Mr. Nelson saw Dr. Veen for follow-up on July 17, 2018, reporting that he “has had
no recurrence of GBS symptoms.” Ex. 22 at 1. On examination, he had normal strength
and DTRs were present throughout. He had somewhat diminished sensation in a stocking
glove pattern which was “improved from previous.” Id. at 2. Dr. Veen noted that Mr. Nelson
was “experiencing some recurrence of symptoms, albeit very mild,” but concluded that
“his current presentation does not seem to be related to GBS.” Id. at 3-4. A repeat EMG
on July 25, 2018 showed “very mild” right median neuropathy at the wrist and “very mild”
chronic right C8 radiculopathy with “no evidence of large fiber polyneuropathy, including
no signs of demyelination.” Id. at 6. He returned to Dr. Veen for follow-up on September
13, 2018, April 19, 2019, and November 18, 2019, and his condition was stable. Ex. 27
at 2-9, 16-20.

       In his affidavit, Mr. Nelson describes the degree to which he is experiencing
residual symptoms, including that he continues to suffer from neuropathy in his fingers,
unsteadiness, and generalized joint weakness. ECF No. 66. He explains that this has had
a direct impact on his daily activities because he currently lives in the Philippines (due in
part to the COVID-19 travel ban) and is unable to fulfill his duties around a farm. Id. Mr.
Nelson details in his affidavit that his GBS and resulting symptoms have affected his
anxiety and depression issues, in additional to his physical limitations.

   III.    Legal Standard
       Compensation awarded pursuant to the Vaccine Act shall include “[f]or actual and
projected pain and suffering and emotional distress from the vaccine-related injury, an
award not to exceed $250,000.” Section 15(a)(4). Additionally, petitioner may recover
“actual unreimbursable expenses incurred before the date of judgment award such
expenses which (i) resulted from the vaccine-related injury for which petitioner seeks
compensation, (ii) were incurred by or on behalf of the person who suffered such injury,
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and (iii) were for diagnosis, medical or other remedial care, rehabilitation . . . determined
to be reasonably necessary.” Section 15(a)(1)(B). Petitioner bears the burden of proof
with respect to each element of compensation requested. Brewer v. Sec’y of Health &
Human Servs., No. 93-0092V, 1996 WL 147722, at *22-23 (Fed. Cl. Spec. Mstr. Mar. 18,
1996).

       There is no formula for assigning a monetary value to a person’s pain and suffering
and emotional distress. I.D. v. Sec’y of Health & Human Servs., No. 04-1593V, 2013 WL
2448125, at *9 (Fed. Cl. Spec. Mstr. May 14, 2013) (“Awards for emotional distress are
inherently subjective and cannot be determined by using a mathematical formula”);
Stansfield v. Sec’y of Health & Human Servs., No. 93-0172V, 1996 WL 300594, at *3
(Fed. Cl. Spec. Mstr. May 22, 1996) (“the assessment of pain and suffering is inherently
a subjective evaluation”). Factors to be considered when determining an award for pain
and suffering include: 1) awareness of the injury; 2) severity of the injury; and 3) duration
of the suffering. I.D., 2013 WL 2448125, at *9 (quoting McAllister v. Sec’y of Health &
Human Servs., No 91-1037V, 1993 WL 777030, at *3 (Fed. Cl. Spec. Mstr. Mar. 26,
1993), vacated and remanded on other grounds, 70 F.3d 1240 (Fed. Cir. 1995)).

        Special masters may consider prior pain and suffering awards to aid in the
resolution of the appropriate amount of compensation for pain and suffering in a specific
case. See, e.g., Doe 34 v. Sec’y of Health & Human Servs., 87 Fed. Cl. 758, 768 (2009)
(finding that “there is nothing improper in the chief special master’s decision to refer to
damages for pain and suffering awarded in other cases as an aid in determining the
proper amount of damages in this case.”). And, of course, I may also rely on my own
experience adjudicating similar claims.5 Hodges v. Sec’y of Health & Human Servs., 9
F.3d 958, 961 (Fed. Cir. 1993) (noting that Congress contemplated the special masters
would use their accumulated expertise in the field of vaccine injuries to judge the merits
of individual claims). Importantly, however, it must also be stressed that pain and suffering
is not determined based on a continuum. See Graves v. Sec’y of Health & Human Servs.,
109 Fed. Cl. 579 (2013).

    IV.     Appropriate Compensation in this Matter

            A. Pain and Suffering

       In this case, awareness of the injury is not disputed. The record reflects that at all
times, Mr. Nelson was a competent adult with no impairments that would impact his
5
  From July 2014 until September 2015, the SPU was overseen by former Chief Special Master Vowell. For
the next four years, until September 30, 2019, all SPU cases, including the majority of SIRVA claims, were
assigned to former Chief Special Master Dorsey. In early October 2019, the majority of SPU cases were
reassigned to me as the current Chief Special Master.


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awareness of his injury. Therefore, I analyze principally the severity and duration of
petitioner’s injury.

       Mr. Nelson’s medical records and his affidavit provide a description of the pain he
experienced throughout the duration of his injury, and which he deemed significant. Br.
at 8-14. Petitioner cites to a number of damages decisions involving GBS injuries and
highlights the similarities between the petitioners in those cases and GBS. Id. Petitioner
therefore submits that a damages award in amount greater than $150,000.00 for past
pain and suffering is appropriate in this case. Id. at 13-14.6

        Respondent, on the other hand, argues that while Mr. Nelson has continued to
complain of neurological symptoms, “his treating neurologist has repeatedly stated that,
with the possible exception of paresthesia for which petitioner is taking gabapentin, these
are not related to his GBS.” Opp. at 8. Respondent notes that Mr. Nelson underwent
cervical fusion surgery in December 2017, and that much of his subsequent medical
treatment has been associated with that injury. Id. By July 2019, an EMG demonstrated
“very mild” right median neuropathy at the wrist and “very mild” chronic right C8
radiculopathy, but “no evidence of larger fiber polyneuropathy, including no signs of
demyelination,” reflecting a good recovery from GBS. Id. Respondent also notes that Mr.
Nelson’s overall recovery was faster and more complete than those in the previous cases
cited in his brief, since such claimants had ongoing symptoms related to GBS that were
documented in the medical records. Id. at 8-9. As a result, Respondent proposes an
award of $110,000.00 to be an appropriate pain and suffering award given the facts of
this case when compared with other, more severely injured petitioners. Opp. at 9.

        After reviewing the record in this case and considering the parties’ arguments
during the hearing, I find that the record best supports the conclusion that Petitioner’s
condition, while serious, was on the mild end of severity of GBS cases. In addition, Mr.
Nelson had other ailments and conditions that are likely contributing to some of his
symptoms, including his cervical radiculopathy, for which he underwent an anterior
cervical discectomy and fusion surgery. Ex. 20 at 7-8. These conditions surely contributed
to his neck and arm pain symptoms. At the same time, subsequent treaters have
expressly noted that Petitioner’s GBS-related symptoms did not recur. See, e.g., Ex. 22
at 1.

       I also find the comparable damages determinations from other cases offered by
Petitioner to be inapt. In such cases, where pain and suffering awards ranged from
6
 In particular, Petitioner cited to Johnson v. Sec’y of HHS, No. 16-135V, 2018 WL 5024012 (Fed. Cl. Spec.
Mstr. July 20, 2018) (awarding $180,000.00 for pain and suffering); Dillenbeck v. Sec’y of HHS, 17-428V,
2019 WL 4072069 (Fed. Cl. Spec. Mstr. July 29, 2019) (awarding $180,857.15 for pain and suffering);
Fedewa v. Sec’y of HHS, No. 17-1808V, 2020 WL 1915138 (Fed. Cl. Spec. Mstr. March 26, 2020) (awarding
$180,000 for pain and suffering).

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$170,000.00 to $180,000.00, the injured parties experienced far worse prognoses
subsequent to the initial hospitalizations and could no longer work or was out of work for
several months, attended far more PT visits, and continued to require medication for pain
specifically related to the GBS. See Johnson 2018 WL 5024012, at *7-8; Dillenbeck 2019
WL 4072069, at *14; Fedewa 2020 WL 1915138, at *6. Here, by contrast, Petitioner’s
recovery was much quicker, nor does the record indicate that he has experienced long-
lasting treatments or deficiencies specifically related to his GBS. Ex. 5 at 52; Ex. 7 at 6.
In fact, Mr. Nelson’s neurologist specifically stated that she believed that Mr. Nelson had
made a good recovery from his GBS. For these reasons, I cannot find that the GBS injury
and its sequelae were of such high severity to justify an award of the magnitude requested
by Petitioner.

        Nevertheless, GBS is a serious and frightening vaccine injury, and Petitioner’s pain
and suffering award should be calculated with that in mind. Prior to vaccination, Mr.
Nelson was active and relatively healthy, which likely contributed his eventual recovery,
but also underscores the impact his illness had on his life. While in the hospital, Mr.
Nelson developed leukopenia (low white blood cells) resulting from the IVIG treatments
Ex. 6 at 53. He endured several months of physical and occupational therapy. During the
months following his GBS diagnosis, Petitioner also suffered a loss of enjoyment of
activities in which he once participated. Although he could ambulate independently, he
required the use of a walking cane. Additionally, Petitioner’s leg weakness caused him to
suffer multiple falls and bruising. Ex. 5 at 2. For these reasons, I find that Respondent’s
recommendation of $110,000.00 is far too modest.

        Balancing the severity of a GBS injury and Petitioner’s personal loss against the
relatively low severity of disease course and treatment requirements, and considering the
arguments presented by both parties at the hearing, a review of the cited cases, and
based on the record as a whole, I find that $155,000.00 in compensation for actual/past
pain and suffering is reasonable and appropriate in this case.


          B. Past Unreimbursed Expenses

      The parties agree that Petitioner shall receive an award of $4,339.00 for his past
unreimbursable expenses.

          C. Award for Future Unreimbursed Medical Expenses

      The parties agree that Petitioner shall receive an award of $7,361.04 for his future
medical unreimbursable expenses.



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    V.      CONCLUSION

        In light of all of the above, I award Petitioner a lump sum payment of
$166,700.04, (representing compensation in the amount of $155,000.00 for actual pain
and suffering, $4,339.00 for past unreimbursed medical expenses, and $7,361.04 for
future reimbursed expenses) in the form of a check payable to Petitioner. This amount
represents compensation for all damages that would be available under Section 15(a) of
the Vaccine Act. Id.

       The Clerk of the Court is directed to enter judgment in accordance with this
decision.7

IT IS SO ORDERED.

                                                 s/Brian H. Corcoran
                                                 Brian H. Corcoran
                                                 Chief Special Master




7
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                    8
